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 5
     Attorney for Plaintiff,
 6   Albert Dytch
 7
 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
11
12   ALBERT DYTCH,                        ) No. 3:20-cv-06004-SK
                                          )
13               Plaintiff,               ) STIPULATION FOR DISMISSAL OF
                                          ) ENTIRE ACTION
14          vs.                           )
                                          )
15   ANTICA RESTAURANTS, LLC dba DOPO; )
     LYNNE S. TILSEN; ANNE EN-YI WU;      )
16
     JOHN W. WU; ZAZA H. WU; FLORENCE )
                                          )
17   E. TRENT, Trustee of the TRUST OF    )
     FLORENCE E. TRENT, dated October 30, )
18   2000; SHIRLEY TILSEN, Trustee of the )
     FAMILY TRUST OF THE TILSEN FAMILY )
19                                        )
     TRUST DATED JUNE 21, 1991;           )
20                                        )
                 Defendants.              )
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                                          )
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                               STIPULATION FOR DISMISSAL OF ENTIRE ACTION

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 1           IT IS HEREBY STIPULATED by and between Plaintiff Albert Dytch and
 2   Defendants, Lynne S. Tilsen; Anne En-Yi Wu; John W. Wu; Zaza H. Wu; Florence E. Trent,
 3   Trustee of the trust of Florence E. Trent, dated October 30, 2000; and Shirley Tilsen, Trustee
 4   of the Family Trust of the Tilsen Family Trust dated June 21, 1991, the parties who have
 5   appeared in this action, that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the
 6   above-captioned action is dismissed with prejudice in its entirety. Each party is to bear his or
 7   its own attorneys’ fees, expert fees, and costs.
 8
     Dated: March 24, 2021                         MOORE LAW FIRM, P.C.
 9
10                                                 /s/ Tanya E. Moore
                                                   Tanya E. Moore
11
                                                   Attorney for Plaintiff,
12                                                 Albert Dytch

13
     Dated: March 24, 2021                         Law Office of Rick Morin, PC
14
15
                                                   /s/ Richard Morin
16                                                 Richard Morin
                                                   Attorney for Defendants,
17                                                 Lynne S. Tilsen; Anne En-Yi Wu; John W. Wu;
18                                                 Zaza H. Wu; Florence E. Trent, Trustee of the trust
                                                   of Florence E. Trent, dated October 30, 2000; and
19                                                 Shirley Tilsen, Trustee of the Family Trust of the
                                                   Tilsen Family Trust dated June 21, 1991
20
21                                            ATTESTATION
22
     Concurrence in the filing of this document has been obtained from each of the individual(s)
23   whose electronic signature is attributed above.
24                                                 /s/ Tanya E. Moore
25                                                 Tanya E. Moore
                                                   Attorney for Plaintiff,
26                                                 Albert Dytch
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                            STIPULATION FOR DISMISSAL OF ENTIRE ACTION

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